8:08-cr-00281-JFB-TDT         Doc # 142      Filed: 09/23/09     Page 1 of 1 - Page ID # 321




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                              Plaintiff,            )       8:08CR281
                                                    )
       v.                                           )       ORDER
                                                    )
JOSE ROBLEDO,                                       )
                                                    )
                              Defendant.

       This matter comes on before the Court on the Plaintiff’s Motion to Amend Final Order of

Forfeiture. The Court, being duly advised in the premises finds the Motion should be granted.

       IT IS ORDERED as follows:

       1. The Plaintiff’s Motion to Amend Final Order of Forfeiture (Filing No. 141) be granted.

       2. All references made to the United States Bureau of Alcohol, Tobacco, Firearms and

Explosives in the Final Order of Forfeiture entered on September 18, 2009 (Filing No. 140) are

hereby deleted and the U.S. Marshals Service entered in its place.

       DATED this 23rd day of September, 2009.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON, CHIEF JUDGE
                                             United States District Court
